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AO 106 (Rev. 01/09) Application for a Search Warrant

United States District Court<

 

 

 
 
   

  

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for the [S/S May 9.0 2024
Western District of New York \ \ wal ae ove
In the Matter of the Search of X¥ *

(Briefly describe the property to be searched or identify the person hy name and address.) N LY

 

1. 5529 Walmore Road, Lewiston, New York 14092 (“Target Premises”); and c No a Ol / | 3
2. 4-door 2017 red Dodge Ram pickup truck, bearing New York State license (FILED UNTER SF AL)
plate HUC7495 (“Target Vehicle”)

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state

under penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

1. 5529 Walmore Road, Lewiston, New York 14092 (“Target Premises”); and
2. 4-door 2017 red Dodge Ram pickup truck, bearing New York State license plate HUC7495 (“Target Vehicle”)

Both of which are more fully described in Attachment A, which is attached hereto and incorporated herein by reference.

located in the Western District of New York, there is now concealed (identify the person or describe the property to be seized)!

See Attachment B, which is attached hereto and incorporated herein by reference

The basis for search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
® contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
QO a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of 18 U.S.C. §§ 1703(a) and 1709. (statutory violation(s)).
The application is based on these facts:

& continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days:

)is
requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

 

Applicant’s signature

BRENDAN M. BOONE

SPECIAL AGENT

UNITED STATES POSTAL SERVICE/
OFFICE OF INSPECTOR GENERAL

Printed name and title
Sworn to telephonically.

Date: May?”, 2021 Meet ) pean

 

(Judge 's signature

HONORABLE MICHAEL J. ROEMER
City and state: Buffalo, New York UNITED STATES MAGISTRATE JUDGE

Printed name and Title

 
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AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT

 

STATE OF NEW YORK )
COUNTY OF NIAGARA ) SS:
CITY OF LEWISTON )

I, Brendan M. Boone, being duly sworn, state as follows:

1, Iam a Special Agent with the United States Postal Service (USPS), Office of
Inspector General (OIG), in Buffalo, NY, and have been so employed since April 2020.
Before my hiring with the USPS OIG, I was employed as a Special Agent with the United
States Secret Service assigned to the Washington Field Office for over three years. My duties
include investigating allegations of fraud, waste, and abuse in matters involving the USPS. I
am currently assigned to investigate allegations of mail theft committed by USPS employees
or contractors. I have completed the Criminal Investigator Training Program at the Federal
Law Enforcement Training Center in Brunswick, Georgia. I have also received additional
training covering various topics, including interviewing, legal issues, search warrants,
investigative techniques, and fraud investigations. I have received specialized training
regarding internal mail theft, mail procéssing, and schemes and techniques employed by
internal mail thieves. In the course of my law enforcement career, I have conducted or
participated in numerous types of investigations, including counterfeit United States currency,

financial crimes, identity theft, fraud, and mail theft.

2. I make this affidavit in support of an application for a warrant to search the
residence, outbuildings and residential property at 5529 Walmore Road, Lewiston, New

York 14092 (known hereafter as “Target Premises), and to search a 4-door 2017 red Dodge
1
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Ram pickup truck, bearing New York State license plate HUC7495 (known hereafter as
“Target Vehicle”). Target Premises includes a two-story residence with tan siding, two picture
windows with black shutters on the first floor, and three smaller windows without shutters on
the second floor and approximately % acre of property. The Target Premises and Target

Vehicle are further described and depicted in Attachment A hereto.

3. The purpose of this application is to seize evidence, fruits and contraband, and
instrumentalities of violations of Title 18 U.S.C. 1703(a) (Delay or Destruction of Mail and

Newspapers) and Title 18 U.S.C. 1709 (Theft of Mail Matter by Officer or Employee).

4. The statements contained in this affidavit are based upon my training,
experience and personal knowledge gained during my investigation of this matter and
information provided by other law enforcement agents involved in the investigation, and

information made available to me through complainant interviews.

5. Because this affidavit is being submitted for the limited purpose of establishing
probable cause, I have not included each and every fact known to me relating to this
investigation. I have set forth only the information I believe to be necessary to establish
probable cause to believe that the items described in Attachment B are currently concealed at

the Target Premises and in the Target Vehicle.

6. As a result of the investigation described more fully below there is there is

probable cause to believe evidence, fruits, and instrumentalities of violations of Title 18
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U.S.C. 1703(a) (Delay or Destruction of Mail and Newspapers) and Title 18 U.S.C. 1709
(Theft of Mail Matter by Officer or Employee) are concealed at the Target Premises and in

the Target Vehicle.

PROBABLE CAUSE

7. USPS records establish CHRISTOPHER ALLEN (ALLEN) was hired by the
USPS in 2013 and works as a rural carrier assigned to the Lewiston, New York Post Office.
The Lewiston Post Office is responsible for mail deliveries in Lewiston, zip code 14092, and
neighboring Youngstown, New York, zip code 14174. ALLEN is tasked with the permanent
mail carrier assignment on rural route 901 (R901) in Youngstown, New York. ALLEN
resides at 5529 Walmore Road, Lewiston, New York 14092 (Target Premises) as listed in
ALLEN’S USPS employee database. A red 4-door 2017 Dodge Ram pickup truck, bearing
New York State license plate HUC7495 (Target Vehicle) is registered to ALLEN at 5529

Walmore Road, Lewiston, New York 14092.

8. It is the goal of the USPS to deliver the mail in a timely and efficient manner.
To this end, the USPS hires individuals to serve as city and rural carriers, commonly known
as letter carriers. These employees are responsible for taking the mail to locations for
delivery. Among the duties assigned to a letter carrier is to deliver all mail and parcels that
are destined to an assigned mail route, and also to collect any outgoing mail that USPS

customers place in outgoing residential mailboxes or in public blue drop boxes.
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9. Once a letter or package has been accepted for delivery through any mailbox,
drop box, or during an over-the-counter transaction, that item is within the care, custody, and
control of the USPS until it is delivered at its intended destination. It is the duty of every

USPS employee to protect and ensure the safe delivery of each mail item.

10. OnApril 7, 2021, I telephonically contacted a USPS customer, known hereafter
as Customer 1, who resides at an address in Youngstown along R901. Customer 1 previously
notified the USPS OIG of missing mail pieces from daily USPS delivery. From approximately
January 2021 through March 31, 2021, Customer 1 estimated 20 first class envelopes and 15-
20 standard mailings never arrived at Customer 1’s residence. Customer 1 is enrolled in the
USPS Informed Delivery CD). USPS ID provides a digital preview of letter mail and
packages scheduled to be delivered to USPS customers. The digital previews are emailed daily
to enrolled customers. These e-mails provide customers with an understanding as to what

mail those customers are going to receive on a certain date.

11. Customer 1 based the above listed estimation off e-mails sent from USPS ID.
Amongst the missing items, Customer 1 noted credit card bills from Capital One, an
unemployment mailing, an envelope from the Lewiston-Porter School District, a mailing
from a SUNY college and “5 or 6” car payment bills addressed to a family member. Customer
1 estimated that since January 2021, four mail pieces arrived in the residential mailbox that
were opened at the back flap. Customer 1 stated each envelope was a “letter” from a business

or institution specifically addressed to Customer 1 or a member of Customer 1’s family.
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12. OnApril 8, 2021, I telephonically contacted a USPS customer, known hereafter
as Customer 2, who resides at an address in Youngstown along R901. Customer 2 previously
notified the USPS of missing mail pieces. From approximately January 2021 through March
31, 2021, Customer 2 estimated a combined 23 pieces of first class and standard mailings
failed to be delivered to Customer 2’s residence. Customer 2 is also enrolled in the USPS ID
feature and based the estimation off daily e-mails sent from ID. Amongst the missing items,
Customer 2 noted bank statements, a W2 form, numerous bills, envelopes with credit card

offers, and a political mailing.

13. OnApril 8, 2021, I telephonically contacted a USPS customer, known hereafter
as Customer 3, who resides at an address in Youngstown along R901. Customer 3 previously
notified the USPS of missing mail pieces. Customer 3 estimated 12 or more pieces of letter
mail, beginning in early March 2021, failed to be delivered to Customer 3’s residence.
Customer 3 is also enrolled in the USPS ID feature and based the estimation off daily e-mails
sent from USPS ID. Amongst the missing items, Customer 3 noted two separate mailings
from the Social Security Administration, an envelope containing a check from Principal

Financial Group, and an envelope containing a greeting card sent from a family member

residing in Florida.

14. On April 12, 2021, I conducted physical surveillance of ALLEN, operating
USPS Long Life Vehicle, known hereafter as LLV #0211301, while ALLEN engaged in his
delivery assignment. During the surveillance, I observed LLV #0211301 pull into the

employee parking lot of the Lewiston Post Office, with ALLEN dropping items off at the
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Target Vehicle. I later surveilled ALLEN in the Target Vehicle depart the Lewiston Post

Office until he arrived at 5529 Walmore Road, Lewiston, New York 14092.

15. On April 19, 2021, I conducted physical surveillance of ALLEN along R901.
Upon ALLEN’S return from delivery on R901, I observed ALLEN stop LLV #0211301 in
the Lewiston Post Office employee lot and dropped off items at the Target Vehicle before
parking LLV #0211301. I surveilled ALLEN depart the Lewiston Post Office in the Target
Vehicle until he arrived at 5529 Walmore Road, Lewiston, New York 14092 (Target

Residence).

16. On May 6, 2021, your affiant and a USPS OIG Technical Operations Officer

installed a covert surveillance camera inside ALLEN’s assigned LLV #0211301.

17. On May 11, 2021, I was notified via e-mail by Customer 1 of two undelivered
mail pieces from May 10, 2021. Customer 1 noted the two items were envelopes from TCF
Bank and the May 10, 2021 USPS ID notification e-mail indicated impending delivery of

these envelopes. The items also failed to arrive at Customer 1’s residence on May 11.

18. Continuing on May 11, 2021, I was notified by Customer 2 of two undelivered
mail pieces. Customer 2 received an e-mail displaying incoming mail on the May 10, 2021
USPS ID notification. The ID e-mail showed two first class envelopes, one from Aetna Health

and a second from a family member residing in Washington state. The second envelope was
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a Mother’s Day card containing a gift card. Customer 2 did not receive the listed first-class

mail pieces on May 10 or May 11, 2021.

19. To date none of the missing mail items described above related to Customers 1

through 3 above have been reported to your affiant as delivered to the intended recipients.

20. I reviewed surveillance video footage of ALLEN’s activities inside LLV
#0211301 from May 7, 2021. At the listed surveillance video time of 8:31 a.m., ALLEN drove
out of the Lewiston Post Office LLV lot. At 8:32 p.m., ALLEN stopped LLV #0211301 next
to the Target Vehicle. ALLEN exited the LLV and opened the front passenger side door of
the Target Vehicle and retrieved a blue sided cooler which he placed on LLV’S driver seat.
ALLEN placed what appeared to be keys to the Target Vehicle into to front pocket of the
cooler, placed the cooler onto the floor of the LLV and began driving his delivery route.

Below is a picture of ALLEN placing the blue sided cooler into LLV #0211301:

 
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21. I reviewed surveillance video footage of ALLEN’s activities inside LLV
#0211301 from May 10, 2021. At the listed surveillance video time of 3:20 p.m., ALLEN was
observed sorting through mailings from a USPS mail tray. USPS mail trays contain mail
already sequenced for delivery on letter carrier routes. At 3:21 p.m., ALLEN placed mailings
from the aforementioned tray into a black plastic garbage bag. ALLEN then stuffed
approximately 10 handfuls of letter mail into the garbage bag before moving the garbage bag

out of camera view.

22. I reviewed surveillance video footage of ALLEN’s activities inside LLV
#0211301 from May 13, 2021. At the listed surveillance video time of 1:49 p.m., ALLEN
stopped the LLV and began sorting through mail pieces sitting in a USPS mail tray. At 1:50,
ALLEN brought into camera view a green plastic bag. ALLEN then placed approximately
eight handfuls of letter mailings in or around the green bag. I later observed ALLEN on video
bring his blue cooler into camera view and place it onto the vehicle’s cab tray. ALLEN
proceeded to open the top of the cooler, revealing the aforementioned green bag. Mailings
popped out of the green bag after ALLEN removed it from his cooler. ALLEN proceeded to
stuff mailings back inside the green bag before tying it closed, placing the bag into the blue
cooler, and shutting the top of the cooler. At the listed surveillance video time of 2:59 p.m.,
ALLEN stopped the LLV in the USPS employee lot and exited the vehicle with his blue
cooler, briefly leaving camera view. ALLEN quickly returned to the LLV without the blue

cooler before parking the LLV in the Lewiston Post Office LLV lot.
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23. On May 13, 2021, physical surveillance of ALLEN was conducted along R901.
After completing delivery of R901, as mentioned, ALLEN arrived at the Lewiston Post
Office employee lot and parked LLV #0211301 next to the Target Vehicle. A USPS OIG
Special Agent conducting physical surveillance observed ALLEN exit the LLV with the blue
cooler and place the cooler into the passenger side of the Target Vehicle. I observed the Target
Vehicle depart the Post Office lot and enter the Tops Express Convenience Store, located at
805 Cayuga Street, Lewiston, New York 14092 and directly across the street from the
Lewiston Post Office. I observed ALLEN exit the store carrying one case of beer. ALLEN
departed the lot in the Target Vehicle and travelled east on Cayuga Street, where I observed
the Target Vehicle at the Magic Mist Auto Wash, 885 Cayuga Street, Lewiston, New York

14092. The Target Vehicle did not enter any car wash bays before departing the business.

24, The Target Vehicle was surveilled to until it arrived and parked behind the
residence at 5529 Walmore Road. A USPS OIG Special Agent searched all of the garbage
cans at the Magic Mist Auto Wash for evidence of mail theft and mail dumping with negative
results. ALLEN did not have any opportunity to discard any items without being observed

by agents prior to his arrival at the Target Premises.

25. On May 13, 2021, USPS OIG Special Agents inspected numerous wooded
areas, Culverts, and waterways along ALLEN’S delivery route of travel for evidence of mail

theft or mail dumping. The searches concluded with negative results.
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26. Based on the facts set forth above, there is probable cause to believe ALLEN
uses the Target Vehicle to transport stolen United States Mail to the Target Premises where
he stores or discards the stolen items of United States Mail. Accordingly, there is probable
cause to believe that evidence of a crime, specifically, a violation of Title 18, U.S.C., Section

1703 and Title 18, U.S.C., Section 1709 will be found in the Target Premises and Target

Vehicle.
SEALING REQUESTED
27. Due to the ongoing and covert nature of this investigation, and due to the

possible arrest of ALLEN, your affiant respectfully requests that this Court seal the Search
Warrant Application, the Search Warrants, the Search Warrant Affidavit and inventory

return upon further order of this Court.

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CONCLUSION
Based upon the foregoing, it is therefore respectfully submitted that there is probable
cause to believe that the above-referenced properties, both the Target Premises and the Target
Vehicle, contain fruits, evidence, and instrumentalities related to the delay, destruction, and theft

of mail in violation of Title 18, U.S.C. 1703 and Title 18, U.S.C 1709.

 

BRENDAN M. BOONE
SPECIAL AGENT
USPS OIG / BUFFALO, NY

Sworn to telephonically

this dO say of May, 2

HONORABLE MIGHAEL J. ROEMER
United States Magistrate Judge

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ATTACHMENT A

Properties to Be Searched

5529 Walmore Road, Lewiston, New York 14092 (“Target Premises”’)

The Target Premises includes the residence, outbuildings, and residential property.
The Target Premises residence is a two-story, single-family residence with tan siding, two
picture windows with black shutters on the first floor, and three smaller windows without
shutters on the second floor. The home is in a rural area on the Tuscarora Indian Nation
Reservation. The entrance to the driveway is on Walmore Road. The residence is on the east
side of Walmore Road and sits approximately 30 yards from the edge of the road. An
entrance door is located behind a white storm door on the south side of the dwelling and at
the end of a wooden ramp. A garage type structure is located directly behind the residence.
A black mailbox affixed to a wooden post sits in front of the property just north of the
driveway entrance. The mailbox has the numbers “5529” attached horizontally across the
side, and the wooden post bears the numbers “5529” attached vertically. Photographs of the
Target Premises are below:

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Red 2017 Dodge Ram Pickup Truck, NYS Tag HUC7495 (“Target Vehicle”)

The Target Vehicle is a 4-door red 2017 Dodge Ram Pickup Truck bearing NYS Tag
HUC7495 and registered to ALLEN at 5529 Walmore Road, Lewiston, New York, 14092.
The truck has multiple stickers on the rear window, one of which includes a United States Air
Force decal. The vehicle was observed in the driveway of 5529 Walmore Drive on April 12,
April 19, May 18, and May 19, 2021. Photograph of the Target Vehicle are below:

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ATTACHMENT B - Items to Be Searched For And Seized

 

The following items which constitute evidence, fruits, contraband, and instrumentalities
of violations of Title 18, U.S.C. 1703 and Title 18, U.S.C. 1709:

1. Property belonging to, or entrusted to, the U.S. Postal Service, including mail,
newspapers, parcels and envelopes torn or otherwise, gift cards, personal checks,
cash, greeting cards, and receipts associated with such mailings;

2. Any mail not addressed to CHRISTOPHER ALLEN and/or any other resident of
5529 Walmore Road, Lewiston, New York 14092;

3. Documents concerning the ownership and residency of the searched locations, to
including but not limited to utility and telephone bills, mailings, or addressed
correspondence; and

4, Documents relating to the storage of items, records, or documents at any location,
including but not limited to contracts and lease agreements for storage units or safe
deposit boxes.
